
SHIVERS, Chief Judge.
Appellant appeals his enhanced sentence pursuant to section 775.084, Florida Statutes, arguing that the trial court erred in classifying him as a habitual offender based on five prior convictions rendered on the same date. In light of this court's recent holding in Barnes v. State, 576 So.2d 758 (Fla. 1st DCA 1991), that habitual offender classification must be based on sequential convictions, we reverse and remand for resentencing.
REVERSED and REMANDED.
BOOTH and ZEHMER, JJ., concur.
ON MOTION FOR CERTIFICATION
The appellant’s motion for certification is granted. As this court did in Barnes v. State, 576 So.2d 758 (Fla. 1st DCA 1991), we certify the following as a question of great public importance:
WHETHER SECTION 775.084(l)(a)(l), FLORIDA STATUTES (Supp.1988), WHICH DEFINES HABITUAL FELONY OFFENDERS AS THOSE WHO HAVE “PREVIOUSLY BEEN CONVICTED OF TWO OR MORE FELONIES,” REQUIRES THAT EACH OF THE FELONIES BE COMMITTED AFTER CONVICTION FOR THE IMMEDIATELY PREVIOUS OFFENSE?
BOOTH and ZEHMER, JJ., concur.
